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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION
                                AT LEXINGTON

UNITED STATES OF AMERICA,                       CRIMINAL ACTION NO. 5:13-97-KKC
      Plaintiff,

                                                         MEMORANDUM
V.
                                                       OPINION AND ORDER

MARIO APARICIO-RAMIREZ,
      Defendant.



                                        *** *** ***

       This matter is before the Court on Defendant Mario Aparicio-Ramirez’s request for a

sentence reduction pursuant to Amendment 782 to the United States Sentencing

Guidelines. The amendment reduces by two the offense levels assigned in the Drug

Quantity Table, U.S.S.G. § 2D1.1, resulting in lower guideline ranges for most drug

trafficking offenses.

       The Defendant pleaded guilty to one count of conspiring to distribute Oxycodone.

(DE 182). On January 9, 2015, this Court sentenced Defendant to a term of 66 months

imprisonment. (DE 342). Defendant’s admitted offense involves the distribution of more

than 10,000, but less than 15,000 oxycodone 30 mg pills. These quantities have a marijuana

equivalency of at least 2,010, but less than 3,015 kilograms. The upper end of this range

qualified Defendant for a base offense level of 32 under U.S.S.G. § 2D1.1(c)(4). However,

this Court applied the rule of lenity and calculated Defendant’s sentence using a base

offense level of 30—corresponding to marijuana equivalency of not less than 1,000

kilograms, but less than 3,000 kilograms. U.S.S.G. § 2D1.1(c)(4), (DE 587 at 12). The Court

also approved the government’s three level reduction recommendation for acceptance of
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responsibility pursuant to U.S.S.G. § 3E1.1, based upon Defendant’s entering a plea of

guilty. Finally, from an offense level of 27, Defendant’s criminal history category of III and

the corresponding guideline range of 87–108 months this Court granted an additional 21

month downward variance to 66 months based on Defendant’s role in the offense, criminal

history, and to avoid unwarranted sentencing disparities among defendants. 18 U.S.C. §

3553(a).

       This Court will deny Defendant’s request both because it is not clear that Defendant

is eligible for a reduction under Amendment 782 and also because the § 3553(a) factors

would support Defendant’s original sentence even if he were eligible. The relevant policy

statement, U.S.S.G. § 1B1.10, provides for sentence reduction eligibility for cases “in which

a defendant is serving a term of imprisonment, and the guideline range applicable to that

defendant has subsequently been lowered as a result of an amendment to the Guidelines

Manual.” “In other words, a defendant is not eligible for a reduction of sentence under §

3582(c)(2) unless (1) his sentence was based on a sentencing range that has subsequently

been lowered by the Sentencing Commission, § 3582(c)(2), and (2) the amendment on which

he relies has the effect of lowering the defendant's applicable guideline range.” United

States v. Johnson, 570 F. App'x 560, 563 (6th Cir.) cert. denied, 135 S. Ct. 491, 190 L. Ed. 2d

370 (2014) (internal citations and quotation marks omitted). As stated above, Defendant

pleaded guilty to conduct that made a guideline range of 108–135 months applicable to

him—assuming a base offense level of 32 and a three level reduction for acceptance of

responsibility. However, this Court applied the rule of lenity to reach a base offense level of

27, the same level that would be applicable had the rule not been applied and defendant

were sentenced under the amended guideline range.



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       However, it may be necessary for this Court to construe its application of the rule of

lenity as creating a lower “applicable” guideline range for the Defendant under § 1B1.10,

given that statement’s directive to “leave all other guideline application decisions

unaffected.” Nonetheless, this Court would still be required to consider the factors set forth

in 18 U.S.C. § 3553(a). 18 U.S.C. § 3582(c)(2). Assuming Defendant’s amended guideline

range were 70–87 months this Court would hold that a downward departure of four

months, as reflected by Defendant’s current 66 month sentence, is appropriate given the

nature and circumstances of the offense, to insure adequate deterrence, and to avoid

unwarranted sentencing disparities among defendants. 18 U.S.C. § 3553(a)

       Accordingly, IT IS ORDERED that Defendant’s motion for sentence reduction (DE

640) is DENIED.

       Dated April 5, 2016.




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